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Michael J Brosnahan
21 Hummingbird Circle
Sedona Az. 86336
mtk63@h0tmail.c0m
(928) 300-6030

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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZ()NA - PRESCOTT DIVISION

CV-l6-08277-PCT-DLR

Real Party(s) ln Interest(s): Case No.: No.
MICHAEL J BROSNAHAN Enforce Fair Debt Collection Practices Act
Consumer Claimant 15 U,S_C_ § 1692
Plamuffs> Federal Question 28 U.s.C. § 1331
Vs
AND
"Debt Collector"

CALIBER HOME LOANS lnc. and its agents, APPLICATION FOR AN
LSF9 MASTER PARTICIPATION TRUST and EMERGENCY TEMPORARY

SUMMIT SERVICE AND REALTY LLC RESTRAINING ORDER TO STAY
THE SALE OF REAL PROPERTY;
AND/OR Real Party(s) In Interest: AND
Imposition of Permanent Injunction
Defendants
Complaint
Honorable:

 

 

 

 

`Plaintiff Michael J Brosnahan, pro pen is a natural person and is a "Consumer" as defined
by15 USC l692a(3)(4) ,Specially and not generally before this court, not Waiving any rights,
Without prejudice, hereby respectfully submits this Enforcement of Fair Debt Collection
Practices Act l5 U.S.C. § 1692 and Federal Question 28 U.S.C. § l331 Consumer is in the United
States Of America and any action against him or thing attached to him must be addressed
in a Court Of Comnetent Jurisdiction. Any action against or concerning the Consumer is
action against the United States Of America; and, Application for an Emergency
Temporary Restraining Order and Imposition of Permanent lnjunction Pursuant to Federal
Rules of Civil Procedure Rule 65 against Defendants that is a "Debt Collector" as defined in
accordance With FDCPA, 15 U.S.C. § 1692a(6), to stay the sale scheduled for November 23,

 

 

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2016 of the consumers' principle dwelling unique real property used primarily for personal,
family, or household purposes is in question 15 USC l692k(3)(d) 18 U.S. Code § 1345
Injunctions against fraud.

Real property description: 21 Hummingbird Circle, Sedona, Az. 86336-7012. Parcel Number: Lot
33 of Chapel Bell Estate Unit 4, According to Case 2 Maps, Page 324, Records Of Coconino
County, Arizona, APN NO 401-54046

The date for the ‘unlawful’ non-judicial foreclosure proceeding of Consumer Plaintiff’ s real
property started on or about August 24, 2016, where a Notice of Trustee Sale was recorded at the
Coconino County Recorder Office by Debt Collector CALIBER HOME LOANS lnc. and its
agents, SUMMIT SERVICE AND REALTY LLC, with said sale set to occur on November 23,
2016 at 11:30 AM.

Debt Collector CALIBER HOME LOANS lnc. and its agents, SUMMIT SERVICE AND
REALTY LLC, acting administratively as Judge and Jury and ignored their fiduciary
responsibilities as Trustees to verify all documents and accounts; Debt Collector CALIBER
HOME LOANS lnc. and its agents SUMMIT SERVICE AND REALTY LLC initiated unlawful
commencement of a non-judicial foreclosure proceeding against Consumer Plaintiff without the
proper documentation Therefore Consumer Plaintiff is apprehensive of the effect of any delay in
the issuance of the Order concerning this Application. “Debt collector”, as a debt collector,
forwarded or caused to have forwarded a communication regarding the attempt to collect an
alleged “debt” as defined in 15 USC 1692a(5).lmmediately Cease and Desist pursuant to 15 USC
16920(0). Pursuant to 15 USC l692c(c)(l)

At all relevant times, Defendants CALIBER HOME LOANS Inc. and its agents are in fact "Debt
Collector" as defined under the FDCPA. 15 U.S.C. § l692a(6) acted recklessly or knowingly and
committed the acts, caused or directed others to commit the acts, or permitted others to commit
the acts alleged in this matter. Any allegations about the acts of the Corporations means that
those acts were committed through their officers, directors, employees, agents, and/or
representatives while those individuals were acting within the actual or implied scope of their
authority.

JUDICIAL NOTICE:

Time is of the essence, due to Defendants CALIBER HOME LOANS lnc. and its agents
negligent reckless behavior.

By Law and precedent and in accordance with the Supreme Court of the United States pro se
Pleadings MAY NOT be held to the same standard as a lawyer’s and/or attorney’s. Additionally,
pro se motions, pleadings and all papers may ONLY be judged by their function and never their
form. Litigants are to be held to less stringent pleading standards. Consumer Claimant Plaintiff

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hereby invokes in this case, inter alia, “Federal consumer financial laws,” 12 U.S.C. § 5491(a),
including the entire Fair Debt Collection Practices Act (“FDCPA”) and the Consumer Financial
Protection Act of 2010 (“CFPA”). 12 U.S.C. § 5481(12)(H), (14),H.R.946 - Plain Writing Act of
2010, 28 U.S.C. § 1331,18 U.S. Code § 1345 - lnjunctions against fraud, FTC 16 C.F.R. § 433,
(“Holder” Rule) especially FDCA, TILA,RESPA, REGULATION Z, Tz`tles].$, 33, 44 and 47, inter
alia, the Uniforin Commercial Code, inter al ia, the federal Constitution, all Civil and/or God
granted Rights, inter alia, all maxims of law, inter alia, rules of equity, inter alia, all Treaties, and
all other national and/or international agreements and/or accords, and, inter alia, all other
applicable laws, codes statutes, and the like.

Jurisdiction and Venue

This Court has subject-matter jurisdiction over this action because it PRESENTS A FEDERAL
QUESTION, 28 U.S.C. § 1331, AND lS BROUGHT BY A CONSUMER to Enforce Fair Debt
Collection Practices Act, 28 U.S.C. § 1345 INJUNCTIONS AGAINST FRAUD.

Venue is proper because Debt Collector Defendants transacts business in the Arizona Division of
this District and defendants are therefore considered to be residents.28 U.S. Code § 82,12 U.S.C.
§ 5564(F);

INTRODUCTION

This matter arises out of Def`endants’, Debt Collector CALIBER HOME LOANS Inc. and
its agents, violation of the FDCPA unlawful commencement of a non-judicial foreclosure
proceeding against Consumer Plaintif`fvvithout the proper documentation and accounting.
Defendants Debt Collector know that they are no longer in possession of the Plaintiffs’ unaltered
“Genuine Original Promissory Note” and are refusing to return the Note in its unaltered form to its
rightful owner, Consumer Michael J. Brosnahan. They are attempting to conceal the alterations to
the Note by both keeping the Plaintiffs’ Note and attempting to take the Plaintiffs’ property through
the unlawful commencement of a non-judicial foreclosure proceeding Consumer Plaintiff questions
the Jurisdiction of the non-judicial court and foreclosure proceeding and veracity of the alleged
paperwork to move forward with the non-judicial foreclosure against Plaintiff. Consumer Plaintiff
as well as the Defendants’, Debt Collector CALIBER HOME LOANS lnc. and its agents, know
this alleged paperwork will not hold up under the scrutiny of the Higher Court and Best Evidence
Rules enforced in a Court Of Competent Jurisdiction.

This matter also arises out of Def`endants’, Debt Collector CALIBER HOME LOANS lnc.
and its agents, wrongful conduct with respect to the denauding the State of Arizona and its citizens
out of “public recording” fees and fraudulent business practices As a result of Defendants’ past and
continuing wronghil conduct, the legally protected property rights of Consumer Plaintiff have
been and continue to be severally violated Because Defendants’ Wrongful conduct has resulted
and continues to result in immediate and irreparable harm to Consumer Plaintiff for which there

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is no adequate remedy at law, Plaintiff now brings this Application for an Emergency Temporary
Restraining Order and lmposition of Permanent Injunction Pursuant to Federal Rules of Civil
Procedure Rule 65 ("Plaintiff‘s Application").

Consumer received “debt collector” communications. Said communications violates the Fair Debt
Collection Practices Act pursuant to 15 USC 1692c(a), as Consumer did not authorize and/or give
direct prior consent for “debt collector” to communicate with Consumer regarding this or any
alleged debt. Additionally, pursuant to 15 USC 1692c(a), their communications were sent without
the express permission from a court of competent jurisdiction 15 USC 1692g

Debt Collector, CALIBER HOME LOANS lnc. and its agents, committed identity theft and
established a new Alleged Account, Loan number 9804529874, in the Consumers’ name, which is
another violation of the Fair Debt Collections Practice Act for which Defendant’s are now liable.
Based on the above-stated facts regarding their acts and violations in accordance with the FDCPA, and
specifically 15 USC 1692k(1), they are trespassing and harassing me, and are now liable for ALL damages

See: CFPB Complaint: 161112-000216

Consumer, Mr. Brosnahan, believes that the alleged debt has been knowingly passed, without ever
being validated, from one company to the next in an attempt conceal material facts and evidence
and that the debt has been paid in full and that none of the above-mentioned entities (i.e., Debt
Collectors) are the Creditor or Holder in Due Course of the alleged note and debt in question
CALIBER HOME LOANS must by law identify and disclose “The Real Party of lnterest on the
Note” as the alleged “CREDITOR” and "HOLDER lN DUE COURSE".

Defendants CALIBER HOME LOANS Inc. and its agents filed false and/or forged documents
into a public office on or about August 24,2016 and are in Violation of A.R.S. § 39-161 on the
false presumption that they have standing to foreclose.

Defendants, Debt Collector CALIBER HOl\/IE LOANS lnc. and its agents are not entitled to the
benefit of any presumptions after demonstrating clearly that they have been continuously violated
FDCPA and manipulating the laws of evidence to achieve an unjust result. Presumptions raised in
the UCC and other statutes do not apply to Debt Collector CALIBER HOME LOANS lnc. and its
agents because they have amply demonstrated that they lack credibility, reliability and
authenticity as a pattern and practice.

The Debt collector CALIBER HOME LOANS lnc. and its agents obtained and used affidavits
that were patently false and misleading which were then filed into the Coconino County
Recorder's Office, clouding the title, in which the affiants represented that they had personal
knowledge of the validity and ownership of debts Debt collector knows that many of these
affidavits were executed by persons who lacked personal knowledge of the facts and were never
party to the contract Consumer is the only natural person with personal and first-hand knowledge
of the fact regarding this matter. Filing of the affidavit was a “false, deceptive, or misleading
representation” made in connection with collection of a debt in violation of 15 U.S.C. § 1692e,
and that it used “unfair or unconscionable means” to collect a debt in violation of 15 U.S.C. §

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1692f. Defendants’ acts and practices constitute violations of sections 807(3) and 807(10) of the
FDCPA. 15 U.S.C. § 1692e(3), (10).

Debt Collector, Caliber Home Loans lnc. and its agents, threatened the consumer in an attempt
to unlawfully take possession of (i.e., “steal) the consumers' principle dwelling unique real
property used primarily for personal, family, or household purposes from the consumer on August
24, 2016 by filing false and/or forged documents in a public office to establish legal ownership
and clouding the title; this is a clear violation of Arizona A.R.S. § 39-161, and other laws, Which
prohibits any unlawful proceeding against the consumer to garner the false presumption that Debt
Collector has standing to foreclose.

Debt collector CALIBER HOl\/[E LOANS Inc. and its agents were “aggregating” paper, not debts
or loans And, the courts are presuming that where there is paper there must be a transaction
somewhere in the paperwork even if there is not. Starting around 2007, the empty trusts were said
to have been repackaged into new special purpose vehicles which also turned out to be mostly
trusts lt is the same game as creating multiple assignments to give the illusion that an original
transaction took place, from which all future instruments derive their value. But, if the
“originator” did not actually loan any money to the alleged “borrower”, then none of the
instruments have any value or utility. They are void. No amount of assignments can create the
asset and no amount of repackaging will bring the trusts alive.

Debt Collector violation of FTC 16 C.F.R. § 433, (“Holder” Rule) makes any assignee or holder
of the credit contract responsible for claims the consumer might have against the seller

Willful and malicious harassment

Consumer Right to Cancel is my rescission letter. ln consumer’s letter dated 2009, consumer, via
USPS mail, under TlLA effectively rescinded the alleged loan CALIBER HOME LOANS and its
agents are knowingly, willfully and maliciously attempting to collect a debt on an alleged Loan
that was RESCINDED. The mortgage and note did not exist after the notice of rescission
SCOTUS recently found and unanimously agreed that the statute means what it says and is the
express terms of the laW. Hence any action to enforce or collect under the terms of the note or
mortgage or deed of trust were void, ab initio. Defendants are in violation of the express
provisions of the Federal Act.

Because of their willful concealment and intentional deceptive business practices, Debt collector
CALIBER HOME LOANS lnc. and its agents, the Consumer has become unwittingly entrapped
in part of a scheme: A shell game by Debt Collector concerning the value and ownership of the
Note and Deed of Trust on the consumer’s primary residence and the rights and responsibilities
arising there under; and this scheme violates both the FDCPA and Plain Writing Act of 2010.
Debt collector is seeking to illegally seize possession of Consumer’s home and obtain a windfall

by concealing the true parties of an alleged loan
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Any reasonable person can see after reviewing the substantial irregularities in the paperwork,
solid evidence and facts presented herein, why this matter has been ongoing for more than seven
years without equitable resolution The Consumer has acted in good faith and worked diligently
since January 01, 2009 to resolve this dispute. He believes the court will find the Statute of
Limitations on the contract in question is over. Due to the amount of time that has lapsed without
resolution, he is entitled to Quite Title to his property.

SWORN DENIAL: Pursuant to the Constitution for the United States, the Uniform
Commercial Code (UCC) 3-601, 3-602, 3-603, 3-604, 3-605, the Fair Debt Collections
Practices Act (FDCPA) 15 U.S.C. §§ 1601, 1692 et seq and all other applicable law,
Consumer herby states the following:

l. l deny that the above-referenced purported debt is my debt;

2. lf the above-referenced purported debt is my debt, l deny that it is a valid lawful
debt;

3. lf the above-referenced purported debt is a valid debt, l deny the amount claimed,
or stated, or attempted to be collected is the correct amount.

15 U.S.C. § 1692 (E) STATES: a “false, deceptive, and misleading representation in connection
with the collection of any debt”, includes the false representation of the character or legal status of
any debt and further makes a threat to take any action that cannot legally be taken a deceptive
practice. Account: ending in: Loan Number: # 137733623 APN NO 401-54046 (i.e., the alleged
“Loan”).Then CALIBER HOME LOANS, LSF9 MASTER PARTICIPATION TRUST, new
Alleged Account Number: Loan 9804529874 claims omit information which should have been
disclosed, such as but not limited to vital citations and disclosing the agency's jurisdictional and
statutory authority. Specifically Debt Collector is hereby requested to produce:

l. Claims further contains misinformation false deceptive and misleading
representations and allegations intended to intentionally pervert the truth for the
purpose of inducing one, in reliance upon such, to part with property belonging to
them and to surrender certain substantive legal and statutory rights

2. To act upon these claims would divest one fi'om his property and his prerogative
rights, resulting in legal injury.

PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT. 15 U.S.C. 88 1601,
1692 ET SEQ1 this constitutes timely written notice that tj"§§§sumer Michael J Brosnahan declines
to pay the referenced erroneous purported debt, which is unsigned and unattested, and which
Michael J Brosnahan discharges and cancels in its entirety. l hereby give effective notice and
cancel the transaction indicated above without any further notice, without dishonor, until Loan
Number: #~ 137733623 APN NO 401-54046 (alleged “Loan”), CALIBER HOME LOANS

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Re:New Loan Number 9804529874 CALIBER HOME LOANS LSF9 MASTER
PARTICIPATION TRUST does the following:

l. Validates the purported debt;
2. Validates that the purported debt does not constitute fraud;
3. Produces the documentation and information demanded herein

PURSUANT TO 15 U.S.C. § 1692 (G) (4) VALIDATION OF DEBTS, this is lawful demand;
the Debt Collector must provide lawful validation and supporting legal evidence to substantiate
Debt Collector’s, CALlBER HOME LOANS Re: Loan Number 9804529874 CALIBER HOME
LOANS, LSF9 MASTER PARTICIPATION TRUST, claims that:

1. The purported debt does not constitute fraud;

2. The purported debt does not constitute fraudulent misrepresentation;

3. The purported debt is lawfully owed by l\/Iichael J Brosnahan to Account: Loan
Number: # 137733623 APN NO 401-54046 (alleged “Loan”) Re: Loan Number
9804529874 CALIBER HOME LOANS LSF9 MASTER PARTlClPATION
TRUST.

PURSUANT TO FAIR DEBT COLLECTION ACT. 15 U.S.C. 8 1692 (G) (8), as Debt
Collector is merely an “agency”, or board, acting on someone else's behalf, l demand that
CALIBER HOME LOANS, LSF 9 MASTER PARTICIPATION TRUST:

l. The name and provide all details of the genuine original “principal”;
2. The name and all details of the “holder in due course”;
3. The name and all details for whom Debt Collector is attempting to collect this

alleged debt.

UNTIL ALL THE REOUIREMENTS of the Fair Debt Collection Practices Act have been met
by Debt Collector Re: Loan Number 9804529874 , CALlBER HOME LOANS, LSF9 l\/IASTER
PARTICIPATION TRUST has no legal jurisdiction to continue any collection activity on the
purported debt that Consumer Michael J Brosnahan allegedly owes This is not Consumer
Michael J Brosnahan refusal to pay a lawful debt, but l am hereby:

l. Disputing the validity of the alleged debt;
2. Disputing that purported debt does not constitute fraud;

ALL ELEMENTS HAVE BEEN MET

27. Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

 

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28. All four elements required for granting a Temporary Restraining Order and lnjunctive

Relief have been met as evidenced by Debt Collector CALIBER HOME LOANS lnc. and its

agents numerous illegal and/or criminal acts

29. First Element ( likelihood of success on the merits of Michael J Brosnahan’s claims)
Consumer Michael J Brosnahan must establish a reasonable probability of success on the

merits, and not a certainty of success Oburn v. Shapp, 521 F. 2d 142 (3rd Cir. 1975). Consumer

Michael J Brosnahan's legally protected property rights are clear and unambiguous (Exhibit A

through l)

30. Second Element (the denial of iniunctive relief Will result in irreparable harm to

Consumer Michael J Brosnahan)

ln order to demonstrate irreparable harm, Consumer Michael l Brosnahan must
demonstrate potential harm which cannot be addressed by a legal or equitable remedy following a
trial. InstantAz`r Frez'ght Co. v. CF. Airfi”ez'ght, lnc., 882 F.2d 797 (3rd Cir. 1989). A deprivation
of a person’s legally-protected property right will result in irreparable harm. Defendants' wrongful
conduct has severely invaded Consumer Michael J Brosnahan's legally protected property rights
Moreover, the harm resulting from their wrongful conduct is continuing, making any assessment
of monetary damages even more uncertain and difficult Accordingly, Consumer Michael J
Brosnahan's request for injunctive relief clearly establishes that a denial thereof will result in
immediate and continuing irreparable harm to him.

31. Third Element ( that the granting of iniunctive relief will not result in even greater
harm to the non-moving partv)

Consumer Michael J Brosnahan has clearly satisfied this element. No harm will result to
Defendants should injunctive relief be granted, as Defendants, jointly and separately, have no
lawful interest in the property. Debt collector CALlBER HOME LOANS lnc. and its agents,
jointly or separately, by and through their ens legis ’, are using Criminal activities with the use of
false and forged documents against Consumer Michael l Brosnahan's real property and violating
fiduciary responsibility to all parties Debt collector CALIBER HOME LOANS lnc. and its
agents, have fabricated the facts and are attempting to assign themselves alleged rights that they
do not possess by clouding the Title.

32. Fourth Element ( the grant of iniunctive relief is in the public interest)

Defendants, Debt collector CALIBER HOME LOANS lnc. and its agents, jointly and
separately, have deprived Arizona in numerous ways The radical drop in property values caused
by Defendants’ illegal foreclosures have greatly contributed the State of Arizona’s negative
financial status due to the extreme decline in revenues from property taxes and the increased need
for “homeless” and other services

 

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33. As evidenced by recent findings and news reports, the Defendants have not followed
proper procedures or may have committed fraud in foreclosing homes without proper procedure or
documentation Attorney Generals across the country are calling for investigations Members of
Congress are calling for investigations Debt collector CALlBER HOME LOANS lnc. and its
agents have used their corporations to cause this Country, State Of Arizona and the people great
financial harm.

Maxim: Fraus 0mnia Vitiate! (Fraud vitiates everything.), see, Nua'a' v. Burrows, 91 US
426 (1875); “Fraud destroys the validity of everything into which it enters.” See also: B.
Boyce ’s Executors v. Grundy, 3 Pet. (28 US) 210 (1830), “Fraud vitiates everything.”

lt is in the public interest to stop illegal foreclosures

Plaintiff Consumer has met ALL FOUR elements required for this Court to issue a Temporary
Restraining Order to stay the unlawful sale of Consumer’s principle dwelling unique real property
and has a more than likely possibility of winning the suit against Debt Collector Defendants

V. BOND REQUIREMENTS

34. Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below. `

35. No bond should be required of Consumer, as Debt collector CALIBER HOME LOANS
lnc. and its agents have no interest, nor any rights, in Consumer Michael J Brosnahan's property.
Bonds are to secure and/or indemnify a party from loss; a party that has no interest and no right to
a property cannot possibly incur a loss

35. If this Court decides to require a bond, Consumer Michael J Brosnahan hereby requests a
de minimus bond, as he is forced through no fault of his own to expose the Defendants Debt
Collector CALIBER HOME LOANS lnc. and its agents numerous violations of FDCPA and
illegal acts against him.

36. The preceding notwithstanding, this Court should recognize that property is itself the bond
in this case. Whoever succeeds in the litigation is indemnified and protected by the value of
property. Accordingly, the requirement of a bond would be little more than punishment on
Consumer Michael 1 Brosnahan with bias and prejudice for Defendants Debt collector CALlBER
HOME LOANS lnc. and its agents

Consumer files this Application ONLY “in lieu of the SUMMARY JUDGMENT and
DEFAULT” if the DEFAULT is not granted. lt is Consumer Plaintiffs belief the DEFAULT
should and shall be granted, and files this Application as this Court has yet to issue the
DEFAULT. If this Court does issue the DEFAULT, then this Application shall be deemed moot

and stricken from the record.

 

 

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STATEMENT OF FACTS

Plaintiff Consumer questions the Jru'isdiction of the non-judicial court and foreclosure proceeding
and veracity of the alleged paperwork to move forward with the non-judicial foreclosure against
Plaintiff was nothing more than “Hearsay” and inadmissible as evidence in this Court. The
veracity of accounting and the Affidavit by now is in question Debt Collector CALIBER HOME
LOANS lnc. and its agents continues to trespass on Consumer this case and commit fraud upon
the court and should be sanctioned accordingly

L ARGUMENT
A. Standard Applicable to Grant Temporarv Iniunctive Relief
lt is well settled within the United States District Court that:

To satisfy the injunction standard, the moving party must
demonstrate the classic four elements: (1) a reasonable
probability of success on the merits; (2) that denial of injunctive
relief will result in irreparable harm; (3) that granting injunctive
relief will not result in even greater harm to the non moving
party; and (4) that granting injunctive relief will be in the public
interest

See.' Saudi Basic Induslry Corp. v. Exxon Corp., 364 F.3d 106,
citing Allegheny Energy, lnc. v. DQE, Inc., 171 F.3d 153, 158

Accordingly, where (as it is here) all four elements of injunctive relief are established by
the moving party, injunctive relief is appropriate

B. Because Consumer Plaintiff Has Established All Four Elements for the Grant of
Iniunctive Relief, a Temporarv Restraining Order is Appropriate.

As to the frrst required element (i.e., likelihood of success on the merits of
movant's claims) it is well settled that Plaintiff must establish a reasonable probability of
success on the merits, and not a certainty of success Uburn v. Shapp, 521 F.2d. ln the instant
case, Plaintiff’ s legally protected property rights are clear and unambiguous lt is also clearly
evident that Defendants' conduct set forth in Plaintiffs Complaint is wrongful and violates
Plaintiff s legally protected property rights Accordingly, Plaintiff’ s Complaint and Plaintiff s
Application clearly establish a reasonable likelihood of success on the merits of Plaintiff’ s
claims

With respect to the second element (i.e., the denial of injunctive relief will result
in irreparable harm to Plaintiff) it has been held that "in order to demonstrate irreparable harm,

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(Plaintiff) must demonstrate potential harm which cannot be addressed by a legal or equitable
remedy following a trial." Instcmt Az`r Frez`ghl‘ C0. v. C.F. Az`rj?”ez'ghz‘, lnc., 882 F.2d. lt is well
settled that a deprivation of a person's legally protected property right will result in
irreparable harm. ln the instant case, Defendants' wrongful conduct has severally invaded
Plaintiffs legally protected property rights Moreover, the harm resulting fi'om Defendants'
wrongful conduct is continuing, making any assessment of monetary damages even more
uncertain and difficult Accordingly, Plaintiffs Complaint clearly establishes that a denial of
injunctive relief will result in immediate and continuing irreparable harm to Plaintiff.

The third and fourth elements necessary for injunctive relief (i.e., that the granting of
injunctive relief will not result in even greater harm to the nonmoving party, and that the grant of
injunctive relief is in the public interest) are also clearly established in Plaintiffs Complaint
No harm will result to Defendants should injunctive relief be granted Conversely, immediate and
irreparable harm will result to Plaintiff should injunctive relief be denied Accordingly,
Plaintiff has clearly satisfied the third element The same is also true with respect to the fourth
element in that it is clearly within the public interest that the legally protected property rights of
Plaintiff be protected

lt is also in the public’s interest that the TRO be granted to allow Plaintiff to properly
prepare for the civil case as Plaintiff has spent several months studying and collecting evidence
that will prove conclusively that:

Debt Collector Defendants have defrauded Arizona, Arizona taxpayers, Arizona
body politic, Arizona Consumers, and Arizona government, et al. out of Arizona’s
rightfully due ‘public’ recording fees in an unlawful attempt to unjustly enrich
Defendants at the cost and expense of Arizona, the Arizona taxpayers Arizona
body politic, Arizona Consumers, and the Arizona government, et al. Consumers in
United States of America

ll_l. In Furtherance of Plaintiff’s Application, Plaintiff Moves this Court to tal_ge Judicial
Notice of U.C.C. 8 3-302§d,e,g[

_A_= Defendant is inconsistent with their ‘STANDING’ in this matter

1. Defendant has claimed in this case to be a ‘Holder’; and Defendant has claimed in
the non-judicial foreclosure proceeding to be a ‘HOLDER lN DUE CGURSE.’

2. Defendant has altered the Note by stamping the Note “without recourse” and
thereby either discharging the Note and/or confessing to fraudulently transferring
the Note pursuant to, inter alia, A.R.S. §§ 47-3407, 47-3416(A)(3), 47-3417(A)(2),
47-4207(A)(3)

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]_3_. Defendant(s) by and through Defendant’s counsel filed a non-iudicial
foreclosure proceeding knowingly, intelligently and willfully in violation of the law
requiring that ONLY a H()LDER IN DUE COURSE can commence foreclosure

proceeding

Pursuant to, inter alia, U.C.C. § 3-302. HOLDER lN DUE COURSE, specifically
paragraphs a', e and g, a Holder does not have the right to foreclose on a “property.” Although
Defendant MAY be a Holder in some ways, Defendant cannot be the Holder in Due Course as
Defendant may ONLY has a security interest in the property.

U.C.C. § 3-302. HOLDER lN DUE COURSE.

(d) lf`, under Section 3-303(a)(1), the promise of performance that is the consideration for
an instrument has been partially performed, the holder may assert rights as a holder in due
course of the instrument only to the fraction of the amount payable under the instrument
equal to the value of the partial performance divided by the value of the promised
performance

(e) lf (i) the person entitled to enforce an instrument has only a security interest in the
instrument and (ii) the person obliged to pay the instrument has a defense, claim in
recoupment, or claim to the instrument that may be asserted against the person who granted
the security interest, the person entitled to enforce the instrument may assert rights as a
holder in due course only to an amount payable under the instrument which, at the time of
enforcement of the instrument, does not exceed the amount of the unpaid obligation
secured (Emphasis aa’a’ea')

Defendant(s) and/or Defendant’s counsels filing of a non-judicial foreclosure proceeding
as a ‘Holder’ was a fraudulent act.

C. U.S.D.C. District of Arizona, the Honorable Judge Hollowell previously
described the banks fraud against home owners the state, and the body
politic, in Her memorandum decision for In rec Weisband, March 29, 2010.

Defendant has conspired with the other Defendants and Defendants’ counsel to deprive
Arizona, the people of Arizona, the body politic of Arizona, and the Counties of Arizona by
avoiding recording fees and therefore invalidating ALL transfers of Title, Deeds, etc.

The Honorable Hollowell’s succinct description of the fraud committed by GMAC and the
co-conspirators in that case is representative of the fraud committed by Defendant and the
Defendant’s co-conspirators in this case.

D. Defendant’s and/or Defendant’s counsel are purposefully obfuscating_
facts and laws

Debt Collector Defendant’s and/or Defendant’s counsel’s use of legalese purposeful
obfuscation of facts and color of laws to appear to this Court as the CREDITOR and/or the
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HOLDER lN DUE COURSE when Defendant and Defendant’s counsel are well aware Defendant
is neither the CREDITOR nor the HOLDER lN DUE COURSE in this matter.

E. Defendant’s conduct and acts cause Defendant to be considered
a “DEBTOR” pursuant to the Uniform Commercial Code.

Defendants cannot be the CREDITOR and/or the HOLDER lN DUE COURSE as one or
more of the Defendants was and/or is the DEBTOR pursuant to U.C.C. § 9-102:

U.C.C. § 9-102 Definitions and index of definitions

A. ln this chapter, unless the context otherwise requires:

28. "Debtor" means:

(b) A seller of accounts chattel paper, payment intangibles or promissory p_o_te_§; or
(c) A consignee. (All emphasis addea')

F. This Court should now query Defendant on Defendant’s ‘True’ position
in this matter pursuant to the FDCPA ,U.C.C.

lt is now incumbent on this court to query Defendant as to Defendant’s lawful position in
this instant matter. lf Defendants refuse to stipulate in open court that Defendant is the
CREDITOR and HOLDER lN DUE COURSE in this instant matter then Defendant should
explain to Plaintiff and this Court how Defendant can proceed with a non-judicial foreclosure

Defendant’s own acts of fraud upon this court, Plaintiff, Arizona’s body politic, and the
public in general are the single cause of this paradox and absent Defendant “stating the claim”
they are the CREDITOR and HOLDER lN DUE COURSE in this matter, this court cannot hear
f`rom the Debt Collector Defendants

ln the interest of justice and to assist this Court in understanding the FDCPA violations

Defendant committed against Plaintiff, Plaintiff will elaborate further on the FDCPA violations
fraud being committed by Defendant

Defendant, by and through the company “assigned, sold or transferred” the purported
‘Promissory Note/Deed of Trust’, which then caused Defendant to become a “DEBTOR” pursuant
to, inter alia, U.C.C. § 9-102 (A.R.S. § 47-9102).

ln fact, ALL Defendants have committed acts which cause them to become “DEBTORS”
as defined by the U.C.C. l

See: U.C.C. § 9-102 Definitions and index of definitions
A. ln this chapter, unless the context otherwise requires:
"Debtor" means:
(b) A seller of accounts chattel paper, payment intangibles or promissory notes; or
(c) A consignee. (All emphasis added)

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Defendant received pecuniary gain from the Violations FDCPA acts committed under the
guise of a ‘lawful transaction’ to unlawfully convert real property from the Consumer lawful
owner, to a corporation

Defendants conspired to create a ‘scheme’ and/or ‘artifice’ to “securitize” Promissory
Notes and receive the profits thereof, yet Defendants have attempted to invoke the Rights of a
HOLDER lN DUE COURSE. Such rights are mutually exclusive in law. Once the ‘NOTE’ was
“securitized” by Defendants Defendants’ knowingly, intelligently, and willfully -
PERMANENTLY - forsook any possible Rights of a HOLDER lN DUE COURSE violation of
FTC 16 C.F.R. § 433, (“Holder” Rule)

For this Court’s clarification, Plaintiff will explain the fraud

committed by the Defendant’s iointly and severally:

ALL Defendants have committed acts which cause them to become “DEBTORS” as
defined by the U.C.C.

See: U.C.C. § 9-102 Definitions and index of definitions

A. ln this chapter, unless the context otherwise requires:

28. "Debtor" means:

(b) A seller of accounts chattel paper, payment intangibles or promisso;y notes; or
(c) A consignee (All emphasis added)

Defendants have violated numerous Federal laws and State of Arizona laws by commencing ‘non-
judicial foreclosure’ proceedings even though they are well aware they are NOT the HOLDER lN
DUE COURSE.

Pursuant to, inter alia, U.C.C. § 3-302 ONLY the HOLDER lN DUE COURSE may
foreclose Defendants MAY ‘claim’ to be the HOLDER, yet Defendants will NOT claim to be
the HOLDER lN DUE COURSE, and yet to commence a ‘non-judicial foreclosure’ proceeding
Defendants MUST ‘trick’ the State into believing Defendants are the HOLDER lN DUE
COURSE.

Furthermore, these Defendants have committed ‘ perjury by inconsistent statements’ by
fraudulently claiming to the State of Arizona that they are the HGLDER lN DUE COURSE to
commence the ‘non-judicial foreclosure’ proceeding, yet in this Court and ALL other documents
they ONLY claim to be a HOLDER.

See: Inter alia, A.R.S. § 13-2705; Perjury by inconsistent statements
_I_\f._ Plaintiff hereby questions ALL parties actual standing in this matter

Defendant’s purported counsel may in fact not be counsel for Defendant, but may in fact
be ONLY appearing as counsel and TRULY representing their own interest.

lf, in fact, counsel is representing Defendant then counsel shall provide to this Court for
this Court’s and Plaintiff’s ‘inspection’ the ‘Power of Attorney’ and ALL of the documents

purporting to give counsel the authority to act on Defendant’s behalf.
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lf, in fact, counsel is acting in their own behalf, then counsel has committed fraud upon
this Court.

l\/lore succinctly stated, Plaintiff has the Right, and hereby invokes said Right, to have
ALL parties state on and for the record, their relationship to Consumer Plaintiff and their
relationship to this matter.

ln fact, Plaintiff has no idea who really has the requested documents yet Plaintiff is absolutely
sure, as this Court will agree, and Defendants will NEVER argue against, that no entity and/or
person is or lawfully can be the holder in due course in this matter, therefore, no entity and/or
person can lawfully foreclose in this matter.

2. Defendants’ actions caused great emotional stress to Consumer Plaintiff and negatively
affected Plaintiff s ability to earn an income Defendants are jointly and severally liable for
Plaintiff financial losses Defendants may be held jointly and severally accountable punitively for
the suffering they have caused Plaintiff.

3. Defendants have received pecuniary gain by defrauding Arizona and/or the several
Counties of Arizona by unlawfully ‘avoiding’ the required “County Recording Fees” for
‘transferring, selling, assigning, etc’ Titles Deeds, Notes, etc. and/or the like

4. Plaintiff hereby moves this Court, and it is now incumbent on this Court, in the interest of
justice and pursuant to, inter alia, F.R.Civ.P. Rule l to query Defendant, and DEMAND DEBT
Defendant Debt Collector stipulate and agree on and for the record, as to whether or not
Defendant Debt Collector is or is not the HOLDER lN DUE COURSE and the CREDITOR in
this instant matter before this Court.

5. lt is a functional impossibility for Consumer Plaintiff, a laymen, and/or any juris doctorate
for that maiter, to explain the horrendous and numerous acts of fraud perpetrated against the State
of Arizona, the body politic of Arizona, and the Plaintiff by Defendant(s) in a few “short”
paragraphs

6. Defendant(s) Debt Collector have spent untold millions of dollars and possibly thousands
of hours of attorney’s time to contrive such an abysmal scheme to steal from the people, the
States, the Counties and the United States of America as a whole all at the same time

7 . Although the Debt Collector plan itself is simple, 1) Trick the Consumer home owners
with legalese terms no laymen will understand; 2) Subvert the FDCPA and other consumer
protection laws; avoid a Court of Competent lurisdiction 3) Scare and threaten Consumer that
attempts to protect their Consumer and constitutional Rights; 4) Move cases to prevent the
Consumer homeowners from accessing their Due Process Rights; and 5) Payoff anyone that is
willing to help the Debt Collector steal the real property from the Consumer and true
homeowners instituting the biggest hoax and swindle in history required a large number of
corrupt lawyers willing to use their knowledge to defraud and eventually destroy the Consumer
and the whole Country.

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L CONCLUSION

WHEREFORE, Plaintiffs Application satisfies each and every element necessary for
the grant of injunctive relief, Plaintiff Application for an Emergency Temporary Restraining
()rder and lrnposition of Permanent lnjunction should be granted

WHEREAS, Plaintiff has the Right to inspect the documents to verify Defendant has not
altered, mutilated, destroyed, etc. said documents and that the signatures on said document are
valid pursuant to accordingly Plaintiff MUST be allowed to inspect said documents

WHEREAS, Debt Collector Defendants and Defendants’ attorneys have neither admitted
nor denied they are in possession of the documents in question, and therefore this Court may only
conclude that Defendants do not have said documents

WHEREAS, Debt Collector Defendants and Defendants’ attorneys are knowingly,
intelligently, and willfully, with malice aforethought, committing fraud; upon this Court, Plaintiff,
the State of Arizona, the body politic of Arizona and the United States of America.

WHEREAS, Debt Collector Defendants are violating numerous Federal laws

THEREFORE, this Court should grant Summary Judgment in favor of Plaintiff.

Demand for Relief
The Consumer requests that the Court:

ORDER that Defendants are immediately forbidden and restrained from taking any further action
against Consumer Claimant Plaintiff MlCHAEL l BROSNAHAN. Defendants are ordered that
they are not to sell, assign, transfer, or convey Plaintiffs real property located at 21 Hummingbird
Circle, Sedona, Az. 86336-7012. Parcel Number: Lot 33 of Chapel Bell Estate Unit 4, According
To Case 2 Maps Page 324, Records Of Coconino County, Arizona, APN NO 401-54046,

A. Permanently enjoin Defendants from committing future violations of the FDCPA and
CFPA; and any and all foreclosure actions against Consumer;
Award damages or other monetary relief against Defendants
Order Defendants to pay restitution to the consumer harmed by their unlawful conduct;
Order disgorgement of ill-gotten revenues against Defendants

lmpose civil money penalties against Defendants

Order Defendants to pay the Consumer’s costs incurred with prosecuting this action; and,

cannon

Award additional relief as the Court may determine to be just and proper.

RESPECTFULLY SUBMITTED: This 22th day of November, in'the year, of our Lord, 2016.
BY:§<?/f§;: § l 1 , / ”“:agent

Cdiisiimer Claimant Michael l Brosnahan, proper
_Sincerely and signed without prejudice,

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VERIFIED AFFIDAVIT

The undersigned Affiant, Consumer Claimant Michael l Brosnahan, pro per, a natural
pearson, a civilian, hereinafter “Affiant”, does solemnly declare and state as follows:

1. Affiant is competent to state the matters set forth herein

2. Affiant has knowledge of the facts stated herein

3. All the facts herein are true correct and complete not misleading, to the best of
Affiants knowledge and belief, and admissible as evidence and if called upon as a witness
Affiant will testify to their veracity. g g

 

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, , § t § § / ;”agent
Consumer Claimant l\/lichael l Brosnahan pro per
Sincerely and signed without prejudice

 

CERTIFICATE OF SERVICE

ORlGlNAL and COPY of the foregoing
Delivered and Filed with the Clerk of the Court,
rhis 2th day OrNovember, 2016,

The Honorable

UNlTED STATES DISTRICT COURT

FOR THE DlSTRlCT OF ARIZONA

Conformed COPY of the foregoing

"Debt Collector"

CALIBER HOME LOANS lnc. and its agents
LSF9 MASTER PARTlClPATlON TRUST
and SUMMIT SERVICE AND REALTY LLC

   

BY / § . _ § § § agent
Consumer Claimant Mrchael J Brosnahan pro per
Sincerely and signed without prejudice,

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